

People v Smith (2020 NY Slip Op 06001)





People v Smith


2020 NY Slip Op 06001


Decided on October 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2020

Before: Friedman, J.P., Kern, Scarpulla, Shulman, JJ. 


SCI No. 1708/17 Appeal No. 12142 Case No. 2018-748 

[*1]The People of The State of New York, Respondent, 
vThomas Smith, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Lauren E. Jones of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel J. Young of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Julio Rodriguez, III, J.), rendered October 03, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2020
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








